Case 08-14631-GMB          Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13                  Desc
                             Certificate of Service Page 1 of 7



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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


                                                    :   Case No. 08-14631 (GMB)
  In re:                                            :   (Jointly Administered)
                                                    :
  Shapes/Arch Holdings L.L.C., et al.               :   Chapter 11
                                                    :
                           Debtors.                 :
                                                    :

                                CERTIFICATE OF SERVICE


           I, Diane E. Vuocolo, Esquire, an attorney with the law firm of Greenberg Traurig,

  LLP, hereby certify that copies of the following pleadings have been served upon all

  interested parties listed on the attached Service List via first class mail, postage pre-paid,

  on April 17, 2008:



           1.        Certification Of No Objection To The Application For The Admission
                     Of Nancy A. Mitchell, Esquire To Be Admitted Pro Hac Vice As
                     Counsel To Arch Acquisition I, LLC [Docket No. 126]; and




                                                1
  CHI 57,158,284v1
Case 08-14631-GMB           Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13      Desc
                              Certificate of Service Page 2 of 7




          2.         Certificate of Service


  Dated: April 17, 2008
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                                              2
  CHI 57,158,284v1
Case 08-14631-GMB          Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13          Desc
                             Certificate of Service Page 3 of 7




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  CHI 57,158,284v1
Case 08-14631-GMB        Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13               Desc
                           Certificate of Service Page 4 of 7



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                                             2
  CHI 57,158,284v1
Case 08-14631-GMB           Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13             Desc
                              Certificate of Service Page 5 of 7



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                                             3
  CHI 57,158,284v1
Case 08-14631-GMB          Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13           Desc
                             Certificate of Service Page 6 of 7



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                                            4
  CHI 57,158,284v1
Case 08-14631-GMB        Doc 179-1 Filed 04/17/08 Entered 04/17/08 14:35:13                   Desc
                           Certificate of Service Page 7 of 7



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                                               5
  CHI 57,158,284v1
